        Case 1:15-cv-06119-AJN-JLC Document 381-32 Filed 06/19/17 Page 1 ofPage
                                                                             1            1   of   1




Unit:         Apt. 35E (apt)          -
                                                                       llllllllllllllllll
Requested By: Rashaun Gowdie On 2/17/15 at 6:58 AM
Phone#:        (H) 212-945-2079 (C) 908-745 9808; 917-497-5723
                         :



              Shanti: (H) 212-945-2079 (C) 908-745-9808/ 908-707-
              4642 (W) 212-945-2099 Renu: (C) 917-497-5723
Priority:     None
Entry OK?     No

 Description:     Complaints/Incidents
 Tennant called the front desk at approximately 5 am on 2/17/15 about a
 loud noise coming from 35F. Rudolfo was sent to check out the problem.

Management Notes:




 Time In:        Time Out:

 Charges:                                           Owner signature:
 Completed Date:                                     Maintenance signature:




                                                                                       2/17/2015
https://www.buildinglink.com/V2/mgmt/maint/PrintWO.aspx
                                                                                                   LD001609
